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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI

                                                     |
JAMES KELLY,                                         |
                                                     |
               Plaintiff,                            |       Civil Action No. 4:20-cv-00817
                                                     |
vs.                                                  |
                                                     |
                                                     |
WRIGHT MEDICAL TECHNOLOGY, INC.,                     |
WRIGHT MEDICAL GROUP, INC. and                       |
WRIGHT MEDICAL GROUP, N.V.,                          |
                                                     |
               Defendants.                           |



                                      ENTRY OF APPEARANCE

        Now comes Attorney Frank V. Cesarone, enters his appearance for Plaintiff, and
respectfully requests that all notices, inquiries and correspondence be directed to his attention at
the email address and/or address and phone number provided below.




                                        JAMES KELLY, Plaintiff,
                                        by his Attorneys, MEYERS & FLOWERS


                                      BY:     /s/ Frank V. Cesarone
                                              FRANK V. CESARONE




Prepared by:

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